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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 NATHANIEL HIERS,

                   Plaintiff,

 v.                                               Civil Case No. 4:20-cv-00321-SDJ

 THE BOARD OF REGENTS OF THE
 UNIVERSITY OF NORTH TEXAS SYSTEM,
 et al.,

                  Defendants.


                                 JOINT STATUS REPORT
      Pursuant to this Court’s order of June 13, 2022, the parties report that they have
reached a settlement agreement and are in the process of obtaining all required

signatures. Defendants have 21 days from execution of the agreement to make

payments to Plaintiff or Plaintiff’s counsel under the agreement. Upon satisfaction of

that condition, Plaintiff will promptly dismiss all claims with prejudice.



      Respectfully submitted this 10th day of August, 2022.

 /s/ Greggory R. Walters                      /s/ Todd Dickerson
 Greggory R. Walters                          Todd Dickerson
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 Counsel for Plaintiff                        Counsel for Defendants
 *Admitted pro hac vice
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                              CERTIFICATE OF SERVICE
   I certify that on August 10, 2022, I filed the foregoing using the CM/ECF system,

which will cause notice of the foregoing to be served on all counsel of record



                                          /s/Greggory R. Walters
                                          Greggory R. Walters




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